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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________
                                      )
UNITED STATES HOUSE OF                )
REPRESENTATIVES,                      )
                                      )
              Plaintiff,              )
                                      )
       v.                             )    Civil Action No. 14-1967 (RMC)
                                      )
ERIC D. HARGAN, in his official       )
capacity as Acting Secretary of       )
Health and Human Services, et al.,    )
                                      )
              Defendants.             )
_________________________________     )



                                              ORDER

                This matter came before the Court upon the joint motion of the parties pursuant

to Rule 62.1 of the Federal Rules of Civil Procedure. With the support of the states that

intervened in this action on appeal, the parties have asked this Court to indicate that, if the case is

remanded by the Court of Appeals for the District of Columbia Circuit, in furtherance of the

parties’ conditional settlement agreement this Court will vacate the portion of its final order

providing that “reimbursements paid to issuers of qualified health plans for the cost-sharing

reductions mandated by Section 1402 of the Affordable Care Act, Pub. L. 111-148, are

ENJOINED pending an appropriation for such payments.” See Joint Motion for Indicative

Ruling 1-2 [Dkt. 83]; 5/12/2016 Order [Dkt. 74].

               Having considered the parties’ motion and the entire record, the Court is of the

opinion, and so finds, that if the case is remanded to it by the Court of Appeals, the Court will

grant the relief requested.



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             IT IS, THEREFORE, ORDERED that the parties’ Joint Motion for Indicative

Ruling [Dkt. 83] is GRANTED.

             SO ORDERED.



Date: January 16, 2018                                 /s/
                                          ROSEMARY M. COLLYER
                                          United States District Judge




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